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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                      Plaintiff,                §
                                                §
VS.                                             §    CRIMINAL ACTION NO. H-05-337
                                                §
DEBBIE RAMCHARAN,                               §
                                                §
                      Defendant.                §

                              MEMORANDUM AND ORDER

       Debbie Ramcharan has moved for a new trial and, in the alternative, a judgment of

acquittal. Ramcharan was convicted for her role in a conspiracy to fraudulently obtain

insurance payments for flood damage to houses and their contents.

       Rule 33 permits the district court to grant a new trial if “necessitated by the interests

of justice.” United States v. Tarango, 396 F.3d 666, 672 (5th Cir.2005). Unlike the Rule 29

analysis, when considering a Rule 33 motion, the “trial judge may weigh the evidence and

may assess the credibility of the witnesses . . . ,” Robertson, 110 F.3d at 1117, but must not “set

aside a jury’s verdict because it runs counter to [the] result the district court believed was

more appropriate.” Tarango, 396 F.3d at 672; U.S. v. Collins, 243 Fed. Appx. 56, 58, 2007

WL 2116426, 2 (5th Cir. 2007).

       Rule 29 permits a defendant to move for a judgment of acquittal on the basis that the

evidence presented to the jury is insufficient to sustain a conviction. When the defendant

challenges the sufficiency of the evidence, “the relevant question is whether, after viewing
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the evidence in the light most favorable to the prosecution, any rational trier of fact could

have found the essential elements of the crime beyond a reasonable doubt.” Jackson v.

Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); see also United States

v. Lopez-Urbina, 434 F.3d 750, 757 (5th Cir.) (applying Jackson), cert. denied, --- U.S. ----,

126 S.Ct. 672, 163 L.Ed.2d 541 (2005). The court considers the evidence, all reasonable

inferences drawn therefrom, and all credibility determinations in the light most favorable to

the prosecution. Glasser v. United States, 315 U.S. 60, 80 (1942); United States v. Resio-

Trejo, 45 F.3d 907, 910-11 (5th Cir.1995). The court’s role does not extend to weighing the

evidence or assessing the credibility of witnesses. Glasser, 315 U.S. at 80. The evidence

need not exclude every reasonable hypothesis of innocence or be wholly inconsistent with

every conclusion except that of guilt, and the jury is free to choose among reasonable

constructions of the evidence. United States v. Salazar, 66 F.3d 723, 728 (5th Cir.1995);

Resio-Trejo, 45 F.3d at 911.

       The government produced sufficient evidence for a rational jury to find Ramcharan

guilty. See Jackson v. Virginia, 443 U.S. at 318. The record does not show that the verdict

was so against the weight of the evidence as to justify a new trial based on the interests of

justice. Ramcharan’s role in the offense and relative culpability were addressed in the

sentence. The motion for a new trial or for judgment of acquittal is denied.

              SIGNED on June 2, 2008, at Houston, Texas.

                                        ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge


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